
PER CURIAM
On consideration of the certified order of the Court of Appeals of Maryland disbarring respondent from the practice of law in that jurisdiction, this court's December 12, 2017, order suspending respondent and directing him to show cause why reciprocal discipline should not be imposed, and the statement of Bar Counsel regarding reciprocal discipline, and it appearing that respondent has failed to file either a response to this court's order to show cause or an affidavit as required by D.C. Bar R. XI, § 14 (g), it is
ORDERED that Lance Butler, III, is hereby disbarred from the practice of law in the District of Columbia. See In re Sibley , 990 A.2d 483 (D.C. 2010), and In re Fuller , 930 A.2d 194, 198 (D.C. 2007) (rebuttable presumption of identical reciprocal *1246discipline applies to all cases in which the respondent does not participate). It is
FURTHER ORDERED that for purposes of reinstatement the period of respondent's disbarment will not begin to run until such time as he files a D.C. Bar R. XI, § 14 (g) affidavit.
